                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                          §
                                                  §
vs.                                               §                  NO. 1:21-CR-29-LY
                                                  §
Anthony Gallegos                                  §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO: THE HONORABLE LEE YEAKEL
    UNITED STATES DISTRICT JUDGE

      The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant’s felony guilty plea and for his allocution

pursuant to Federal Rule of Criminal Procedure 11.

      On July 21, 2021, the defendant and counsel appeared before the Magistrate Judge. Counsel

were admonished as required by the Due Process Protection Act. The undersigned addressed the

defendant personally in open court, informed him of the admonishments under Rule 11 of the

Federal Rules of Criminal Procedure, and determined that he understood those admonishments.

Pursuant to a plea agreement, the defendant pled guilty to one count of Possession of a

Machinegun, in violation of 18 U.S.C. § 922(o).

      The Magistrate Judge finds the following:

      1. The defendant, with the advice of his attorney, consented to enter this guilty plea before
         the Magistrate Judge, subject to final approval and sentencing by the District Judge;

      2. The defendant fully understands the nature of the charge against him and possible
         penalties;
   3. The defendant understands his constitutional and statutory rights, understands that his
      constitutional and statutory rights can be waived, and understands the meaning and effect
      of the waiver of his constitutional and statutory rights;

   4. The defendant’s plea was made freely and voluntarily;

   5. The defendant is competent to enter this plea of guilty; and

   6. There is a factual basis for this plea.

                                     RECOMMENDATION

   The Magistrate Judge RECOMMENDS that the District Court accept the defendant’s guilty

plea and, after reviewing the presentence investigation report, enter a Final Judgment of guilt

against him.

                                           WARNING

   The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being

made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987). A party’s failure to

file written objections to the proposed findings and recommendations contained within this

Report within fourteen (14) days after being served with a copy of the Report shall bar that party

from de novo review by the District Court of the proposed findings and recommendations and,

except on grounds of plain error, shall bar the party from appellate review of proposed factual

findings and legal conclusions accepted by the District Court to which no objections were filed.

See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74

(1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

   SIGNED on July 21, 2021.


                                                 SUSAN HIGHTOWER
                                                 UNITED STATES MAGISTRATE JUDGE
